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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                             (Orlando division)

JOSEPH LYNN HALLIDAY,
         Petitioner,

v.                                              Case No. 6:19-cv-1296-Orl-40EJK

SECRETARY, FLA. DEP’T OF
CORRECTIONS, et. al.,
          Respondents.
_____________________________/

         PETITIONER’S REPLY TO RESPONDENTS’ RESPONSE TO
     PETITION FOR WRIT OF HABEAS CORPUS UNDER 28 U.S.C. § 2254

      COMES NOW the Petitioner, JOSEPH LYNN HALLIDAY, by and through

undersigned counsel and pursuant to Rule 5(e) of the Rules Governing Section 2254

Proceedings in the United States District Courts, and replies to the Respondents’

“Response to Petition” (Doc. 12) as follows:

      1. This cause is before the Court on Petitioner’s petition for writ of habeas

corpus (Doc. 1), filed pursuant to 28 U.S.C. § 2254. The petition raises two

substantive grounds for relief from the state judgment and sentence:

      I. Petitioner was denied the effective assistance of counsel guaranteed
      by the 6th and 14th Amendments to the United States Constitution,
      where counsel failed to object and move for a new child hearsay hearing
      when the child victim recanted during her trial testimony.

      II. Petitioner was denied the effective assistance of counsel guaranteed
      by the 6th and 14th Amendments to the United States Constitution,
      where counsel failed to discover and/or present evidence to suggest that
      coaching had occurred.
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      2. The Respondents filed a response (Doc. 12) on December 26, 2019. As to

Ground One, Respondents first claim that this issue is procedurally barred.

Respondents admit that, while “the basis for Ground 1 was raised on direct appeal…

the ineffectiveness of counsel claim relating to that claim, raised in the 3.850 motion,

was found procedurally barred. The bar stemmed from the fact that the underlying

issue for which ineffectiveness was claimed had been raised on direct appeal.” (Doc.

12 at 97).

      3. Respondents overlook that this issue was fully and fairly litigated to the

state court as an ineffective assistance of counsel claim on direct appeal. In the initial

brief, appellate counsel for Petitioner raised three points on appeal. Point I argued

“The trial court erred by denying the motion for acquittal where the only evidence

of lewd and lascivious conduct was an out-of-court statement.” (Doc. 13 at 1461).

Point II argued “The trial court erred in admitting the alleged victim’s out-of-court

statements.” (Doc. 13 at 1463). Appellate counsel explained that Point II actually

consisted of two separate errors committed by the trial court. The first error was in

admitting statements given during the CPT interview in which the victim “SH”

described the rubbing and licking of her vagina. SH fully recanted those allegations

at trial, and they became inadmissible as substantive evidence of guilt as to Count II

of the information. (Doc. 13 at 1464). The second error was that the trial court failed




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to reconsider its pretrial ruling that the entire CPT interview was sufficiently reliable

to fall within the child hearsay rule once SH recanted at trial. (Doc. 13 at 1468).

      4. As to Point III of the initial brief, appellate counsel hedged his arguments

relating to Point II by raising a claim of ineffective assistance of counsel.

Specifically, appellate counsel argued that, in the event the appellate court found the

errors complained of in Point II to be unpreserved for purposes of direct appeal, then

the court should consider trial counsel’s failure to preserve any objections as

ineffective assistance of counsel on the face of the record. (Doc. 13 at 1469).

Appellate counsel argued there could be “no tactical reason for admitting the out-of-

court statements,” and while trial counsel made “references in closing to the

recantation of the licking and touching [they] were limited to the sufficiency of the

evidence supporting Count II.” Appellate counsel explained that the issue, “would

have been moot if the out-of-court statements had been properly excluded in the first

place.” (Doc. 13 at 1470).

      5. The Fifth District Court of Appeal reversed, in part, Petitioner’s direct

appeal based on the argument presented in Point I of the initial brief - i.e. that the

trial court erred by denying the motion for acquittal where the only evidence of lewd

and lascivious molestation was the out-of-court statement. The court expressly

opined that, “Of the issues raised, we find only one has merit.” (Doc. 13 at 1422)

(emphasis added). Nowhere in the court’s written opinion did the court imply that it


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declined to consider the merits of the ineffective assistance of counsel claim raised

in Point III. (Doc. 13 at 1422-25).

       6. When Petitioner re-raised the issue of counsel’s ineffectiveness in his Rule

3.850 motion, the trial court denied the claim as already having been litigated on

direct appeal. (Doc. 13 at 1403).

       7. To properly exhaust state remedies, a petitioner must fairly present the issue

to the state’s highest court, either on direct appeal or on collateral review. Castille

v. Peoples, 489 U.S. 346, 351, 109 S. Ct. 1056, 103 L. Ed. 2d 380 (1989). A

petitioner need not seek state collateral relief on the same issue where the state court

has ruled upon a claim on direct appeal to satisfy the exhaustion requirement. Id.,

489 U.S. at 350.

       8. Here, Petitioner fully and fairly presented the ineffective assistance of

counsel claim alleged in Ground One of the § 2254 petition to the highest state court

in Point III of his direct appeal. When he attempted to re-raise the claim in the trial

court in a Rule 3.850 motion, the claim was denied as having already been

adjudicated on direct appeal. The Respondents’ argument that Ground One should

now be procedurally barred for failure to exhaust in state court is nothing more than

catch 22 “gotcha” litigation and should be rejected accordingly.1



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 It should be noted that, even if this Honorable Court were to determine that Ground One was
unexhausted, the Court could still reach the merits of the claim. 28 U.S.C. § 2254(b)(2)(“An

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       9. As to the merits of Ground One, Respondents argue that the erroneous

admission of child hearsay evidence “is purely a matter of state law.” (Doc. 12 at

98). Respondents maintain that “federal courts generally do not review a state trial

court’s admission of evidence,” and that “relief based on evidentiary rulings will not

be granted unless it goes to the fundamental fairness of the trial.” (Doc. 12 at 99).

       10. Respectfully, Respondents miss the point. Petitioner is not seeking to have

this Court review any evidentiary ruling that was made by the state court. The

gravamen of Petitioner’s claim is that his trial counsel rendered ineffective

assistance, in violation of the 6th and 14th Amendments to the United States

Constitution, for failing to object to the injection of certain evidence at jury trial.

       11. Moreover, the underlying premise for the ineffective assistance of counsel

claim is not solely a matter of state law. The United States Supreme Court has stated

that the Confrontation Clause of the 6th Amendment creates a higher bar for the

admission of hearsay evidence than do evidentiary rules alone. Idaho v. Wright, 497

U.S. 805, 814, 111 L. Ed. 2d 638, 110 S. Ct. 3139 (1990) (“The Confrontation Clause

. . . bars the admission of some evidence that would otherwise be admissible under

an exception to the hearsay rule”). The focus is on the trustworthiness and reliability

of the out-of-court statement. Id.




application for a writ of habeas corpus may be denied on the merits, notwithstanding the failure of
the applicant to exhaust the remedies available in the courts of the State”).

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       12. Here, Petitioner argues that the child victim recanted at trial, and therefore

the out-of-court hearsay the prosecutor subsequently sought to introduce was

unreliable and lacking trustworthiness. Reasonable trial counsel should have

immediately asked the trial court to revisit its previous ruling on the admissibility of

the child hearsay statements, and objected to any further hearsay being admitted.

Counsel’s failure to do so under the facts of this case amounts to ineffective

assistance. 2

       13. As to Ground Two of the § 2254 petition, Respondents again argue that

this is an evidentiary matter which is not subject to review in federal court. (Doc. 12

at 101). Yet, the basis of Ground Two is that trial counsel rendered ineffective

assistance by failing to conduct a reasonable investigation into a defense theory of

parental coaching by the child’s mother (Kristine Silvernail).

       14. Respondents assert that “there has never been any testimony or proof that

the mother ‘coached’ the child as to what to say during the CPT interview. This

claim is unsupported by any evidence.” (Doc. 12 at 101).

       15. In Ground Two, Petitioner alleged a plethora of evidence that trial counsel

failed to discover which would have supported such a theory, including:




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 Respondents attempt to classify counsel’s failure to object to the admission of the CPT interview
as part of a “strategy of the defense.” (Doc. 12 at 100). However, Respondents have provided no
affidavit or declaration from trial counsel indicating he strategically chose to permit introduction
of the highly prejudicial CPT interview as part of some defense tactic.

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      1) A fifteen-page diary by Silvernail directed to S.H. - in the future -
      which slanders and villainizes Petitioner;

      2) Medical records and Petitioner’s testimony indicating that that S.H.
      was delivered prematurely because Silvernail was severely
      preeclamptic, not because Petitioner abused her, contrary to what she
      testified;

      3) Silvernail lied about her sexual history and about the source of the
      chlamydia she gave to Petitioner at the beginning of the relationship;

      4) Silvernail lied about her pregnancy status;

      5) Silvernail lied about the paternity of her third child;

      6) Silvernail committed identity fraud by obtaining a credit card in Mr.
      Halliday’s name;

      7) Silvernail misrepresented to the family court that Petitioner had left
      the state permanently and thereby obtained an award of full custody;

      8) Silvernail misrepresented to the Department of Children and Family
      Services that Petitioner was responsible for an injury to T.H., which
      occurred while Petitioner was stationed overseas in Iraq;

      9) Other incidents that were discovered and/or supported by evidence
      during the ongoing investigation of this case.

      16. Petitioner requests an evidentiary hearing to fully develop this claim. A

petitioner is entitled to an evidentiary hearing in a § 2254 proceeding if he was

diligent in presenting the factual basis of their federal claims to state courts and

where the factual allegations, if proven, would indicate that state court acted contrary

to, or unreasonably applied, clearly established federal law when it rejected the

claim. Breedlove v. Moore, 279 F.3d 952, 959-61 (11th Cir. 2002).


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      17. Here, the child victim admitted that Silvernail talked to her about what to

say both before trial and before the CPT interview. Proof of the aforementioned

evidence would undeniably establish that trial counsel performed deficiently to

Petitioner’s prejudice when he failed to investigate Silvernail’s motive for coaching

the child victim. This, in turn, would establish that the state court’s denial of the

claim resulted from an unreasonable application of Strickland.

                                  CONCLUSION

      Contrary to Respondents’ assertions, Petitioner’s claims are fully exhausted

and should be adjudicated on their merits. Petitioner acted diligently in presenting

the factual basis his claims, but was never afforded a hearing in the state court. In

accordance with Rule 8 of the Rules Governing Section 2254 Proceedings in the

United States District Courts, this Honorable Court should conduct an evidentiary

hearing.

                                             Respectfully submitted,

                                             The Law Office of
                                             ROBERT DAVID MALOVE, P.A.
                                             200 S. Andrews Avenue, Suite 100
                                             Ft. Lauderdale, Florida 33301
                                             rdm@robertmalovelaw.com
                                             Telephone: (954) 861-0384

                                             By: /s/ Robert David Malove
                                             Robert David Malove, Esq.
                                             FL Bar No.: 407283



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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 30th day of March, 2020, this document

was filed via this Court’s CM/ECF filing system, and that all parties were effectively

served thereby.

                                              /s/ Robert David Malove
                                              Robert David Malove, Esq.




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